

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-71,036-01






EX PARTE ROBERTO ENRIQUE LOPEZ, JR., Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 06-03-0091-CRA IN THE 81ST DISTRICT COURT


FROM ATASCOSA COUNTY





	Per curiam.  Hervey, J. not participating.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty and was convicted
of possession of a controlled substance and sentenced to two years state jail years' imprisonment. 
He did not appeal his conviction. 

	Applicant contends that his sentence is void because it was required to be suspended. 
Applicant has alleged facts that, if true, might entitle him to relief. Tex. Code Crim. Pro. Art. 42.12
§15(a)(1).  In these circumstances, additional facts are needed.  As we held in Ex parte Rodriguez,
334 S.W.2d 294, 294 (Tex. Crim. App. 1997), the trial court is the appropriate forum for findings
of fact.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In
the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	  The trial court shall make findings of fact and conclusions of law in regard to whether
Applicant has a previous felony conviction which would make Tex. Code Crim. Pro. Art. 42.12
§15(a)(1) inapplicable to this sentence.   The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 



Filed: November 26, 2008

Do not publish


